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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                         Plaintiff,                      2:14-cr-00103-GMN-VCF
                                                          ORDER
7     vs.

8     HECTOR FERNANDO ZAMBRANO-REYES,
9                          Defendant.
10          Before the court is the Motion for Relief from Prejudicial Joinder of Defendants. (#179).
11          IT IS HEREBY ORDERED that a status hearing on the Motion for Relief from Prejudicial Joinder
12   of Defendants (#179) is scheduled for 1:00 p.m., September 8, 2015, in courtroom 3D.
13          The U.S. Marshal is directed to transport defendant to and from the hearing.
14          DATED this 28th day of August, 2015.
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                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE

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